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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
UNITED STATES OF AMERICA



                  V.                                                   20-CR-521 (CM)
                                                                   SCHEDULING ORDER
JAMES CAHILL, et. al.,

                                   Defendant.
--------------------------------------------------------X
McMahon, C.J .:


        The Court will hold an initial conference in this matter, via telephone, Thursday,

October 22, 2020, at 12:00 p.m.

        To join the conference, the parties are to dial in at: 888-363-4749; the Access Code

is: 9054506. This is an open proceeding and the public (including defendants' family

members) and press are welcomed to dial in but must remain silent.

October 20, 2020



                                                            Colleen McMahon
                                                             Chief Judge




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